Case 2:14-cv-01128-TSZ Document1 Filed 07/24/14 Page 1 of 16

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

STALWART CAPITAL, LLC, a New Jersey
limited liability company,

Plaintiff, No.

V.

ICAP PACIFIC NORTHWEST
OPPORTUNITY AND INCOME FUND, LLC,
A Delaware limited liability company, and
ICAPEQUITY REAL ESTATE FUND I, LLC,
an inactive Washington limited liability
company,

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) | COMPLAINT FOR BREACH OF
) CONTRACT

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Defendants. )

Plaintiff Stalwart Capital, LLC, by way of complaint against defendants iCap
Pacific Northwest Opportunity and Income Fund, LLC, and iCapEquity Real Estate Fund
1, LLC, alleges as follows:

1. Plaintiff Stalwart Capital, LLC, is a New Jersey limited liability company.

2. Defendant iCap Pacific Northwest Opportunity and Income Fund, LLC,
(“New iCap Fund”) is a Delaware limited liability company doing business in King
County, Washington. Defendant iCapEquity Real Estate Fund 1, LLC (“Old iCap Fund”)

is an inactive Washington limited liability company that did business in King County,

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Case 2:14-cv-01128-TSZ Document1 Filed 07/24/14 Page 2 of 16

Washington. On information and belief, the same individuals or entities are members of
both defendants.

3. Venue is proper in this Court because defendants are, or were at the
relevant times stated herein, doing business in King County, Washington.

4. This Court has diversity jurisdiction under 28 USC 1332 because the
amount in controversy is more than $75,000, and plaintiff and defendants are citizens of
different states.

5. Stalwart Capital is a broker/dealer in the business of consulting, assisting
companies, serving as managing broker/dealer, and other roles in the business of
locating investment funds for companies.

6. As shown on the website www.icapequity.com, Mike and Chris
Christensen individually and through LLC’s run a group of companies commonly
referred to as iCap Equity. Together, they have formed at least twelve “iCap” entities,
seven of which are still active limited liability companies. The iCap entities are in the
business of providing capital to real estate developers, as well as purchasing debt from
lenders at discounted prices.

7. In late 2012 and early 2013, Mike and Chris Christensen and Old iCap
Fund desired assistance in raising capital for a real estate investment fund they owned,
managed, or operated through iCap entities, affiliates, or subsidiaries. | They desired
and required the services of a managing broker/dealer for Old iCap Fund to (i) provide
consulting services including recommendations about the preparation and structuring of
its security offering (the "Offering"), (ii) recommend and introduce the Company to third
parties, including securities industry groups, due diligence analysts, broker/dealers, and
others whom the managing Broker/Dealer thinks would be helpful to the Company in its

efforts to raise capital (collectively a "Funding Source"), and (iii) serve as the managing

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Case 2:14-cv-01128-TSZ Document1 Filed 07/24/14 Page 3 of 16

broker/dealer, which includes preparing and maintaining all records required to be
prepared or customarily prepared by managing broker/dealers after the marketing of the
Offering begins, e.g., PPM delivery records, processing of subscription documents and
subscription funds, etc.

8. Pursuant to those ends, on or about January 18, 2013, Old iCap Fund and
Stalwart Capital entered into a Best Efforts Placement Agent Agreement (“Placement
Agreement”). A copy of the Placement Agreement is attached as Exhibit A. Stalwart
Capital agreed to use its best efforts to locate and introduce Old iCap Fund to Funding
Sources that are willing to raise capital or provide financing or other funding to Old iCap
Fund, to act as managing broker/dealer, and to advise Old iCap Fund on the structure
of the Offering.

9. Section 3 of the Placement Agreement sets out the compensation due to
Stalwart Capital, identified in the Placement Agreement as “Agent” that would be paid

by Old iCap Fund, identified therein as the “Company.” Section 3(b) and (c) provide:

(b) If Agent locates Funding Sources and the Company and the Funding
Sources close the transaction(s), then Agent shall receive a ten percent
(10%) fee on all capital raised from the proceeds of each and every
Closing. Seven of these points will be the commission to be paid to any
Selling Group Member responsible for the sale of the Company's
securities; one percent (1%) will be for the due diligence fee that is
reallowable to the Selling Group Member responsible for the sale; and two
percent (2%) will be retained by Agent for its services as the Managing
Broker.Dealer/Placement Agent. In the event the Company, _ its
management, affiliates, or representatives establishes any subsequent
fund (whether now existing or yet to be created), and a Funding Source
introduced to the Company by Agent subsequently invests in such fund,
Agent shall be entitled to receive a 2% trailer fee at the time of investment;
provided, however, that if the entity comprising such subsequent fund
enters into a separate agreement with Agent for its services relative to
such fund, then the provisions of such agreement shall control, and this
trailer fee provision shall become null and void . Payments made under
this Section 3(b) shall be made as of the date on which the funds are
deposited into the Company's bank account

(c) Agent shall also receive ten percent (10%) of all distributions of net
income and capital gains (excluding tax distributions) available for

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Case 2:14-cv-01128-TSZ Document1 Filed 07/24/14 Page 4 of 16

distribution by the Company, as permitted under the Company's LLC
Agreement, subject to the following sentence (the "Profit Interest"). The
Profit Interest shall be prorated according to the amount of funds raised by
the Selling Group as compared to the total funds under management and
shall be paid by the Company's management entity out of and the same
as its Carried Interest. For example, if after paying the operating expenses
of the Company there is $1.00 of Profit Interest available for distribution,
and the Selling Group has raised 90% of the funds under management,
then Agent shall receive nine cents ($0.09) (i.e. 90% of the ten cents
($0.10)) available for distribution. Agent may subsequently re-allow such
payments fully or partially to other Selling Group Members as a means to
encourage them to join the Selling Group and market the Company's
securities. Agent shall disclose to the Company the portion of the Profit
Interest that has been offered and/or re-allowed to any Selling Group
Member within 3-days of any request by the Company for such
information

10. Section 4 of the Placement Agreement prohibited Old iCap Fund from

circumventing Stalwart Capital. In section 4, Old iCap Fund agreed as follows:

The Company may not circumvent Agent with respect to any fee agreed to
hereunder. If Agent introduces the Company to any other Funding
Source, directly or indirectly, by any means, and the Company obtains any
capital by or through such other party, then Agent will be entitled to all
compensation as detailed under Section 3 (b) and (c) above. By way of
illustration, but without limiting the means of introduction that would entitle
Agent to said compensation, if Agent recommends a_ broker/dealer
conference, and the Company attends and meets or becomes aware of
another broker/dealer that is a member of the group there that provides
capital to the Company, then Agent will be entitled to the prompt payment
of the compensation as detailed in Section 3(b) and 3(c) above.

11. After executing the Placement Agreement, Doug Evans of Stalwart Capital

recommended that Old iCap Fund’s owners attend the TNDDA conference in Dallas,

Texas. The conference occurred in March 2013. Mr. Evans attended the conference

with Chris, Mike, and James Christensen, who are brothers. Mr. Evans helped the

brothers and Old iCap Fund prepare for the conference and present at the conference.

The presentation was very well received. Old iCap Fund presented at the conference

under the name “iCap Pacific Northwest Real Estate Fund, LLC” a to-be-formed entity.

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Case 2:14-cv-01128-TSZ Document1 Filed 07/24/14 Page 5 of 16

subsequently moved to Skyway Advisors, and Chris Christensen and his brothers took
their business with him. By August 2013, iCap Pacific Northwest Income Fund, LLC,
with help from Mr. Overby, put out a draft Offering Memorandum to raise $50,000,000.

16. In November 2013, Chris Christensen formed iCap Pacific Northwest
Opportunity and Income Fund, LLC, (“New iCap Fund’). On March 3, 2014, New iCap
Fund filed a Form D with the SEC stating that its offering was for $30,000,000, and had
raised $3.1 million to date. Roger Overby’s firm, Skyway Advisors, is listed in the Form
D as the broker/dealer for the offering.

CAUSE OF ACTION NO 1 —- Breach of Contract

17. Old iCap Fund breached the Placement Agreement by terminating

Stalwart Capital, circumventing the Placement Agreement to contract with Roger

Overby or his company, IAA, and failing to pay Stalwart Capital the amounts owed
under the Placement Agreement. Stalwart Capital recommended that Old iCap Fund
attend a broker/dealer conference, and Old iCap Fund did attend and meet another
broker/dealer, who it then hired to raise funds instead of Stalwart. Thus, under section
4 of the Placement Agreement Old iCap Fund therefore owes the amounts stated in
sections 3(b) and 3(c) of the Placement Agreement.

CAUSE OF ACTION NO 2 — Breach of Contract Successor Liability

18. |New iCap Fund is liable for breach of the Placement Agreement because
Chris Christensen, Old iCap Fund and Stalwart Capital had contemplated forming a new
entity to complete the offering and that the new entity would be responsible for the
obligations under the Placement Agreement. Initially, the entity was going to be iCap
Pacific Northwest Income Fund, LLC, the entity that presented at the TNDDA
conference with Stalwart in Dallas, and which put out the Offering Memorandum with

Mr. Overby. As contemplated by the parties, the new entity that actually put out the

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Case 2:14-cv-01128-TSZ Document 1 Filed 07/24/14 Page 6 of 16

offering and raised the money, which was New ICap Fund, is liable for obligations under
the Placement Agreement.

19. Alternatively, New iCap Fund is liable for the debts of Old iCap Fund
because New iCap Fund merely represented a “new hat” for Old iCap Fund. There is a
common identity of members and managers between Old iCap Fund and New iCap
Fund. The same people, the Christensen brothers, ultimately control and own each
entity. The two entities are in the same business, and both were raising funds for the
same purpose. Because New iCap Fund merely represents a “new hat” for Old iCap
Fund, New iCap Fund is a mere continuation of Old iCap Fund and is liable for Old iCap
Fund’s debts under the Placement Agreement.

20. When New iCap Fund was created, there was a continuity of
management, personnel, physical location, assets, and operations from Old iCap Fund
to New iCap Fund. There was also a continuity of members. Old iCap Fund ceased to
exist, or otherwise closed down is operations. New iCap Fund assumed those
obligations of Old iCap Fund necessary to continue the same line of business. As such,
New iCap Fund constitutes a de factor merger with Old iCap Fund and New iCap fund is
liable for Old iCap Fund’s debt under the Placement Agreement.

21. Alternatively, New iCap Fund is liable for Old iCap Fund’s debt under the
Placement Agreement because the transfer of assets of Old iCap Fund to New iCap
Fund (either directly or through iCap Pacific Northwest Income Fund, LLC) was a
fraudulent transfer for insufficient consideration or for the purpose of escaping liability to
Stalwart Capital. On information and believe, no consideration was paid by New iCap
Fund to Old iCap Fund for its assets, including its business expectations, offering

memorandums), know-how, managers, and other intangible assets.

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Case 2:14-cv-01128-TSZ Document1 Filed 07/24/14 Page 7 of 16

CAUSE OF ACTION NO 3 - Tortious Interference

22. Stalwart Capital had a valid business expectancy with Old iCap Fund.
New iCap Fund had knowledge of that expectancy. New iCap Fund intentionally
interfered with that expectancy. New iCap Fund had an improper purpose for
interfering, namely the circumvention of the Placement Agreement and avoiding
payment to Stalwart Capital. The interference by New iCap Fund caused damages to
Stalwart by depriving it of the amounts owed under the Placement Agreement. New
iCap Fund is therefore liable to Stalwart Capital for tortuous interference in an amount to

be proved at trial.

RESERVATION

23. Stalwart reserves the right to amend to add individual Christensen
brothers as defendants if the facts learned in discovery support claims against any or all
of them under Olympic Fish Products v. Lloyd, 93 Wn.2d 596, 611 P.2d 737 (1980);
Grayson v. Nordic Construction, 92 Wn.2d 548, 554, 599 P.2d 1271, 1274 (1979) Dep't
of Ecology v. Lundgren, 94 Wn. App. 236, 243, 971 P.2d 948 (1999) and similar cases
holding individuals liable for wrongful conduct, including bad faith transactions designed
to avoid a debt, or interference with their company’s contract.

PRAYER FOR RELIEF

WHEREFORE, having fully pled, plaintiff prays for the following relief:

1. For a judgment against defendants for the amounts owed under the
Placement Agreement in an amount to be proved on summary judgment or at trial;

2. For an accounting of the amounts raised and the profits earned by defendants
so as to determine the amount owed under the Placement Agreement;

3. For attorney’s fees and costs;

4. For pre and post judgment interest; and

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Case 2:14-cv-01128-TSZ Document 1 Filed 07/24/14 Page 8 of 16

5. For such other and further relief as the Court deems just and proper.

DATED: July 24, 2014

JAMESON BABBITT STITES
& LOMBARD P.L.L.C.

/s/ Matt Adamson
By:

Matt Adamson WSBA #31731

801 Second Ave. #1000 Seattle, WA 98104
T: 206.292.1994 F: 206.292.1995
madamson@jbsl.com

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Case 2:14-cv-01128-TSZ Document1 Filed 07/24/14 Page 9 of 16

EXHIBIT A
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Case 2:14-cv-01128-TSZ Document1 Filed 07/24/14 Page 10 of 16

BEST EFFORTS PLACEMENT AGENT AGREEMENT

THIS BEST EFFORTS PLACEMENT AGENT AGREEMENT (the
"Agreement") is entcred into as of the igh day of January, 2013, by and between
iCapEquity Real Estate Fund 1, LLC, a Washington limited liability company (the
“Company") and Stalwart Capital, LLC, a New Jersey limited liability company (the
“Agent"),

Recitals

WHEREAS, the Company needs assistance in raising capital for the real estate
investment fund it owns, manages, or operates through itself, affiliates, or subsidiaries
and it desires and requires the services of a managing broker/dealer to (i) provide
consulting services including recommendations about the preparation and structuring of
its security offering (the “Offering”), (ii) recommend and introduce the Company to third
parties, including securities industry groups, due diligence analysts, broker/dealers, and
others whom the managing Broker/Dealer thinks would be helpful to the Company in its
efforts to raise capital (collectively a “Funding Source’), and (iii) serve as the managing
broker/dealer, which includes preparing and maintaining all records required to be
prepared or customarily prepared by managing broker/dealers after the marketing of the
Offering begins, e.g., PPM delivery records, processing of subscription documents and
subscription funds, and so on; and

WHEREAS, Agent is a broker/dealer in the business of consulting, assisting
companies, serving as managing broker/dealer, and other roles in the business of locating
Funding Sources; and

WHEREAS, the Company wishes to utilize the services of Agent to assist it in
locating Funding Sources and other identified roles upon the terms and conditions set
forth below.

Agreement

NOW, THEREFORE, in consideration of the foregoing, the mutual covenants
and promises contained herein, and for other good and valuable consideration, the receipt
and sufficiency of which are hereby acknowledged, the parties agree as follows:

lL. Role of Agent.

(a) The Company retains Agent to use its best efforts to locate and
introduce to the Company Funding Sources, based upon criteria provided to Agent by the
Company, that are willing to raisc capital or provide financing or other funding to the
Company under the Offering. Additionally, Agent as managing broker/dealer, shal! be
authorized to engage other licensed broker-dealers (each a “Selling Group Member”) to
help promote the Offering and obtain Funding Sources, under the securities laws and
rules of the United States and various state governments.

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Case 2:14-cv-01128-TSZ Document1 Filed 07/24/14 Page 11 of 16

(0) Additionally, Agent shall provide consultation about the structure
of the Offering, advise on best strategies for obtaining funding and positioning the
Company to attract such funding, advise the Company’s management about the proper
conduct of such an offering under Regulation D of the securities laws, recommend and
sponsor the Company at various broker/dealer conferences to meet potential Selling
Group broker/dealers, help the Company build the Selling Group, maintain proper
records and systems as the managing broker/dealer/placement agent, counter-sign escrow
account documents as needed and approved by the Company or required by securities
laws or rules, and perform any other roles customarily performed by a managing
broker/dealer/placement agent,

(c) Agent does not undertake the responsibility to prepare Offering
documents for the private placement, as the Company has assured it that it already has
satisfactory Offering documents prepared. If these documents need changes in Agent’s
reasonable business judgment, and the Company refuses to make the changes, Agent
retains the right to terminate this Agreement in accordance with Section 9 below. If
Agent recommends changes to the Offering documents, then the Company shall
incorporate such changes in the Company’s sole discretion, and at its own cost and labor.

2, Information Provided to Agent.

(a) In connection with Agent’s activities hereunder, the Company will
furnish Agent with all material and information regarding the business and financial
condition of the Company (the “Information”). The Company. represents and warrants
that all Information, including but not limited to the Company’s financial statements, will
be complete and correct in all material respects and will not contain any untrue statement
of material fact or omit to state a material fact necessary in order to make the statements
therein not misleading.

(b) The Company recognizes and confirms that Agent: (i) will use and
rely primarily on the Information and on information available from generally recognized
public sources in performing the services contemplated herein without having
independently verified same; (11) is authorized as the Company’s managing broker/dealer
to transmit to any prospective investor a copy or copies, forms of purchase agreements
and any other Jegal documentation supplied to Agent for transmission to any prospective
investor by or on behalf of the Company or by any of the Company’s officers,
representatives or agents, in connection with the performance of Agent’s services
hereunder or any transaction contemplated hereby; (iii) does not assume responsibility
for the accuracy or completeness of the Information and such other information; (iv) will
not make an appraisal of any assets of the Company; and (v) retains the right to continue
to perform due diligence during the course of the engagement.

(c) The Agent agrees to keep the Information confidential and will not

make use thereof, except in connection with the services hereunder for the Company,
unless; (i) disclosure is required by law or requested by any government, regulatory or

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Case 2:14-cv-01128-TSZ Document1 Filed 07/24/14 Page 12 of 16

self-regulatory agency or body in which event Agent will provide the Company with
reasonable advance notice of such planned disclosure; (ii) any Information is or
becomes generally available to the public; (iii) any Information was or becomes
available to Agent on a non-confidential basis from a source other than the Company or
any of its representatives; or (iv) Agent requires the same leve! of confidentiality of the
recipients of such information and such information was delivered in the normal course
of the fulfillment of Agents duties hereunder.

3. Compensation to Agent. Agent shall be entitled to receive and the Company
shall pay Agent as follows:

{a) A non-refundable, good-faith/due diligence deposit payable as
follows: $7,500 paid at the time of mutual execution of this Agreement; and $2,500 on or
before March 15, 2013 upon satisfactory completion of the advisory services
contemplated hereunder. These funds will be used for Agent’s due diligence expenses,
for its management’s travel expenses, and time associated with executing its due
diligence responsibilities under the securities laws, and to ensure that Agent’s work in
preparation of the Offering materials isn’t wasted, if the Company chooses not to proceed
after its work has begun.

Each of the above installments to be wired to the Agent’s bank account
when due, as foliows:

Bank of America

Routing Number 021200339
Account Number 381017031817
Hillsdale, NJ 07642

FBO Stalwart Capital, LLC

(b) If Agent locates Funding Sources and the Company and the
Funding Sources close the transaction(s), then Agent shall receive a ten percent (10%) fee
on all capital raised from the proceeds of each and every Closing. Seven of these points
will be the commission to be paid to any Selling Group Member responsible for the sale
of the Company’s securities; one percent (1%) will be for the due diligence fee that is re-
allowable to the Selling Group Member responsible for the sale; and two percent (2%)
will be retained by Agent for its services as the Managing Broker/Dealetr/Placement
Agent. In the event the Company, its management, affiliates, or representatives
establishes any subsequent fund (whether now existing or yet to be created), and a
Funding Source introduced to the Company by Agent subsequently invests in such fund,
Agent shall be entitled to receive a 2% trailer fee at the time of investment, provided,
however, that if the entity comprising such subsequent fund enters into a separate
agreement with Agent for its services relative to such fund, then the provisions of such
agreement shall control, and this trailer fee provision shall become null and void.
Payments made under this Section 3(b) shall be made as of the date on which the funds
are deposited into the Company's bank account.

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Case 2:14-cv-01128-TSZ Document1 Filed 07/24/14 Page 13 of 16

(ec) Agent shail also receive ten percent (10%) of all distributions of net
income and capital gains (excluding tax distributions) available for distribution by the
Company, as permitted under the Company's LLC Agreement, subject to the following
sentence (the “Profit Interest’’). The Profit Interest shall be pro rated according to the
amount of funds raised by the Selling Group as compared to the total funds under
management and shall be paid by the Company’s management entity out of and the same
as its Carried Jnterest. For example, if after paying the operating expenses of the
Company there is $1.00 of Profit Interest available for distribution, and the Selling Group
has raised 90% of the funds under management, then Agent shall receive nine cents
(30.09) (i.e. 90% of the ten cents ($0.10)) available for distribution. Agent may
subsequently re-allow such payments fully or partially to other Selling Group Members
as a means to encourage thei to join the Selling Group and market the Company's
securities. Agent shall disclose to the Company the portion of the Profit Interest that has
been offered and/or re-allowed to any Selling Group Member within 3-days of any
request by the Company for such information.

(d) Agent shall advise on items related to the Offering documents, but
the Company shall cover any additional legal cost of all changes to be made to such
documents. Company hereby acknowledges that significant advice relating to this matter
has already been provided by Agent, and the parties agree that Agent’s agreed upon
compensation for its services liereunder is adequate and sufficient for all services thus
provided or to be provided.

(e) In the event the Company, its management, affiliates, or
representatives locates and secures a Funding Source that is not a Selling Group Member
or a business contact introduced to the Company by Agent, and the Company and
Funding Source close the transaction, then Agent shall receive a 1% processing fee as
compensation for managing the compliance, paperwork, and risk associated with such
Funding Sources.

4. Non-Circumvention, The Company may not circumvent Agent with respect
to any fee agreed to hereunder. If Agent introduces the Company to any other Funding
Source, directly or indirectly, by any means, and the Company obtains any capital by or
through such other party, then Agent will be entitled to all compensation as detailed
under Section 3 (b) and (c) above. By way of illustration, but without limiting the means
of introduction that would entitle Agent to said compensation, if Agent recommends a
broker/dealer conference, and. the Company attends and meets or becomes aware of
another broker/dealer that is a member of the group there that provides capital to the
Company, then Agent will be entitled to the prompt payment of the compensation as
detailed in Section 3(b) and 3(c) above.

5. Independent Contractor. Agent is not an employee of the Company for any
purpose whatsoever but, rather, is an independent contractor/consultant. Agent does not
have, nor shall Agent hold itself out as having any night, power or authority to create any
contract or obligation, either express or implied, on behalf of, in the name of, or
obligating, the Company, or pledge the Company's credit, or extend credit in the

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Case 2:14-cv-01128-TSZ Document1 Filed 07/24/14 Page 14 of 16

Company's name, unless the Company shall consent thereto in advance and in writing.

6. Authority and Licensing. Agent represents and warrants that it is a currently
licensed broker/dealer and that it has, and shal! maintain, all licenses necessary to
perform its duties under this Agreement. Agent further agrees to maintain proper
compliance with all government and regulatory agencies that issue or may issue such
licenses and to require any Selling Group Member, or other party engaged by Agent, to
do the same.

7. Indamnities.

(a) The Company agrees to indemnify and hold Agent and its employees,
agents and affiliates harmless from and against any and ail loss, claim, damage, liability
and expense (including, without limitation, costs of investigation, legal and other fees
and expenses incurred in connection with, and any amounts paid in settlement of, any
action, suit or proceeding or any claim asserted), to which Agent may become subject
under the United States or foreign securities laws, any applicable statute or regulation of
any jurisdiction, at common law (whether torl, contract or any other basis), or upon, in
whole or in part: (1) a materia] breach of this Agreement by the Company or (11) an untrue
statement of a materia! tact or omission to slate a material fact, or ajlegation of an untrue
statement of a material fact or omission to state a material fact, by the Company in any
documents or information provided in connection with the placement of securities issued
by the Company to investors, which was necessary in order to make the statements made,
in light of the circumstances under which they were made, not misleading, to the extent
such breach, untrue-statement: or Omission is the cause of the loss, claim, damage,
liability or expense, or (iii) an untrue staternent of a material fact or omission to state a
material fact by the Company to any Funding Source introduced by Agent to the
Company; or (iv) the Company's breach of its agreement with the Funding Source, (v)
the Company or its employees and agents willful misconduct or gross negligence.

(b) Agent agrees to indemnify and hold Company and its the respective
officers, directors, shareholders, employees, agents, affiliates, attorneys and controlling
persons harmless from and against any and all loss, claim, damage, liability and expense
to which such persons may become subject insofar as such losses, ciaims, damages or
liabilities (or actions in respect thereof) arise out of or are based upon any action or
omission related to (1} a breach by Agent of any of the provisions hereof, (2) the untruth
of any representation of Agent contained herein, (3) the failure by Agent to obtain or
maintain proper licenses needed to perform all services of Agent under this Agreement,
(4) the violation by the Agent of any law or regulation, the impact of which affects the
Company in any way, (5) an investigation of the Company by any government agency or
regulatory resulting from the errors or omissions of Agent, (6) any other cost to the
Company not part of the ordinary course of its business which is the result of the errors
or omissions of Agent, or (7) the willful misconduct or gross negligence of Agent, its
employees and agents, and Agent further agrees to reimburse any legal or other expenses
reasonably incurred by Company or any such person named above in connection with
investigating or defending any such loss, claim, damage, liability or action

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Case 2:14-cv-01128-TSZ Document 1 Filed 07/24/14 Page 15 of 16

(?) Bromptly after receipt by an indemnified party under this Section of notice
of the commencement of any action, such indemnified party will, ifa claim in respect
thereof is to be made against the indemnifying party under this Section, notify the
indemnifying party of the commencement thereof: but the omission so to notify the
indemnifying party will not relieve it from any liability which it may have to any
indemnified party otherwise under this Section. In case any such action is brought against
any indemnified party, and it notifies. the indemnifying party of the commencement
thereof, the indemnitying party will be entitled to participate therein and to assume the
defense thereof, with counsel satisfactory to such indemnified party (who shal! not,
except with the consent of the indemnified party, be counsel to the indemnifying party),
and after notice from the indemnifying party to such indemnified party of its election so
to assume the defense thereof, the indemnifying party will not be liable to such
indemnified party under this Section for any legal or other expenses subsequently
incurred by such indemnified party in connection with the defense thereof other than
reasonable costs of investigation.

(d) If recovery is not available under the foregoing indemnification provisions
of this Section, for any reason other than as specified therein, the parties entitled to
indemnification by the terms thereof shall be entitled to contribution for liabilities and
expenses. In determining the amount of contribution to which the respective parties are
entitled, there shall be considered the relative benefits received by each party from the
transactions giving rise to liability, the parties’ relative knowledge and access to
information concerning the matter with respect to which the claim was asserted, the
opportunity to correct and prevent any statement or omission, and any other equitable
considerations appropriate under the circumstances.

8. Binding Effect. This Agreement shall be binding upon and inure to the benefit
of the parties hereto and their respective successors and assigns. No other person shall
acquire or have any right under or by virtue of this Agreement. Agent shall not have any
right to assign any of its rights hereunder without the prior written consent of the
Company. ,

9. Term of Agreement. Unless otherwise terminated, the term of this Agreement
shall be for twelve (12) months unless extended by written agreement of the parties, This
Agreement, however, may be terminated by Agent or the Company al any time upon
thirty (30) days prior written notice to the other party. All provisions herein, including
the non-circumvention clause in Section 4, shall survive such termination.

10. Applicable Law, This Agreement shall be governed by and construed in
accordance with the laws of the State of Washington, without regard to its choice of law
provisions or references to any other state laws.

11. Consultation with Counsel. The Parties to this Agreement acknowledge,
represent, and warrant that they entered into this Agreement only after due consideration,
having ample opportunity to engage legal counsel should they choose, that they were not
fraudulently induced, coerced, or intimidated to enter into it, and that in entering into it

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Case 2:14-cv-01128-TSZ Document1 Filed 07/24/14 Page 16 of 16

they have not relied upon any oral or written statements or acts made by any other party
other than as expressly set forth herein,

12, Capacity to Enter into Agreement. Each Party to this Agreement represents
and warrants to the other Party that the execution of this Agreement has been duly
authorized, executed and delivered by it and that all required corporate resolutions and
authorizations have been approved or abtained.

13. Entire Understanding. This Agreement contains the entire understanding
between the Company and the Agent with respect to the subject matter herein and
supersedes any prior understanding and agreements between the parties, whether oral or
written,

ld. Miscellaneous. This Agreement may not be modified or amended except in
writing duly executed by the parties hereto. The section headings in this Agreement have
been inserted as a matter of convenience of reference and are not part of this Agreement.
In the event of a dispute arising out of this Agreement, the prevailing party in such action
shall be entitled to payment of al! costs incurred as a result of any such action, including
attorney's fees, by the non-prevailing party. Notwithstanding anything contained herein
to the contrary, neither Agent nor the Company shall assign to an unaffiliated third party
any of its obligations hereunder. For the convenience of the parties, this Agreement may
be executed in any number of counterparts, each of which shall be, and shall be deemed
to be an original instrument, but all of which taken together shall constitute one and the
same Agreement. Facsimile signatures shall also be as effective as manual ones.

IN WITNESS WHEREOF, this Agreement has been executed by the
undersigned as of the day and year first above written.

AGENT: COMPANY:
STALWART CAPTIAL, LLC ICAPEQUITY REAL ESTATE

- FUND I, LLC
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By: "Soucsay O Even By: iCapMafiagement, LLC
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dos , By: Chris Christensen

Its: President
